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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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MOSHE MASLATON
on behalf of himself and
all other similarly situated consumers

                                    Plaintiff,

                  -against-


MERCANTILE ADJUSTMENT BUREAU, LLC

                                    Defendant.

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                                         CLASS ACTION COMPLAINT

                                                      Introduction

1.       Plaintiff Moshe Maslaton seeks redress for the illegal practices of Mercantile

         Adjustment Bureau, LLC concerning the collection of debts, in violation of the Fair

         Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

                                                            Parties

2.       Plaintiff is a citizen of the State of New York who resides within this District.

3.       Plaintiff is a consumer as that term is defined by Section 1692(a)(3) of the FDCPA, in

         that the alleged debt that Defendant sought to collect from Plaintiff a consumer debt.

4.       Upon information and belief, Defendant’s principal place of business is located in

         Williamsville, New York.

5.       Defendant is regularly engaged, for profit, in the collection of debts allegedly owed by

         consumers.




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6.      Defendant is a “debt collector” as that term is defined by the FDCPA, 15 U.S.C. §

        1692(a)(6).

7.      This is an action for, statutory damages, injunctive relief, declaratory judgment, attorney

        fees and costs brought by an individual consumer for Defendant’s violations of the Fair

        Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) which prohibits

        debt collectors from engaging in abusive deceptive and unfair practices.

8.      According to 15 U.S.C. § 1692:

           a) There is abundant evidence of the use of abusive, deceptive, and unfair debt

               collection practices by many debt collectors. Abusive debt collection practices

               contribute to the number of personal bankruptcies, to marital instability, to the

               loss of jobs, and to invasions of individual privacy;

           b) Means other than misrepresentation or other abusive debt collection practices are

               available for the effective collection of debts;

           c) Abusive debt collection practices are carried on to a substantial extent in

               interstate commerce and through means and instrumentalities of such commerce.

               Even where abusive debt collection practices are purely intrastate in character,

               they nevertheless directly affect interstate commerce;

           d) The FDCPA requires debt collectors identify themselves as such in all messages

               to prevent consumers from being tricked into communicating with debt

               collectors regarding a debt.

9.      Plaintiff also seeks injunctive relief and declaratory relief. Defendant has acted or

        refused to act on grounds generally applicable to the class, thereby making appropriate




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         final injunctive relief or corresponding declaratory relief with respect to the class as a

         whole.

10.      As a result of the violations of the FDCPA, Defendant is liable to Plaintiff and the class

         for declaratory judgment that Defendant's conduct violated the FDCPA, and actual

         damages, statutory damages, and costs and attorney's fees.

                                              Jurisdiction and Venue

11.      This Court has federal question jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

         1331.

12.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the acts and

         transactions that give rise to this action occurred, in substantial part, in this district.

                                  Allegations Particular to Moshe Maslaton

13.      Upon information and belief, on a date better known by Defendant, Defendant began to

         attempt to collect an alleged consumer debt from the Plaintiff.

14.      The Plaintiff alleges that Defendant's collection practices violate the Fair Debt

         Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).                 Such collection

         practices include, inter alia:

             (a)      Leaving messages for consumers, which fail to provide meaningful

                      disclosure of Defendant's identity;

             (b)      Leaving messages for consumers, which fail to disclose that the call is from

                      a debt collector; and

             (c)      Leaving messages for consumers, which fail to disclose the purpose or

                      nature of the communication (i.e. an attempt to collect a debt).




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15.      The FDCPA requires debt collectors identify themselves as such in all messages to

         prevent consumers from being tricked into communicating with debt collectors

         regarding a debt. The United States and Congress have found that:

                [T]his regulation directly advances the governmental interest of
                preventing abusive or deceptive debt collection practices such as
                anonymous telephone messages. Congress has specifically declared the
                prohibited activity of failing to make the necessary disclosures as
                inherently misleading. “The argument is that prohibiting debt collectors
                from leaving anonymous messages directly advances the governmental
                interests because allowing a debt collector to leave such messages could
                result in consumers being tricked into calling back and being forced to
                communicate with the debt collector, which could be an abusive
                practice since some consumers prefer written contact or to have an
                attorney or other representative engage in discussions with the debt
                collector on the consumer's behalf.”…“Requiring a debt collector to
                identify itself as such appears to be a direct and narrow method of
                preventing consumers from being tricked into communicating with debt
                collectors regarding a debt. Furthermore, debt collectors have several
                forms of communication available to them in their efforts to collect a
                debt, including live conversation over the telephone, in person
                communication, and the mail. The FDCPA is no more extensive than
                necessary to achieve the asserted governmental interests of preventing
                abusive or deceptive debt collection practices such as anonymous
                telephone calls.”
                Mark v. J.C. Christensen & Assocs., 2009 U.S. Dist. LEXIS 67724, 26-
                27, 2009 WL 2407700 (D. Minn. Aug. 4, 2009).

16.      To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the use of

         false, deceptive, and misleading collection practices and names a non-exhaustive list of

         certain per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)

         (16). Among the per se violations prohibited by that section are: using any false

         representation or deceptive means to collect or attempt to collect any debt or to obtain

         information concerning a consumer, 15 U.S.C. § 1692e(10); the failure by debt

         collectors to disclose in initial oral communications that the debt collector is attempting

         to collect a debt and that any information obtained will be used for that purpose, 15

         U.S.C. § 1692e(11); and the failure by debt collectors to disclose in subsequent oral



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         communications with consumers that the communication is from a debt collector, 15

         U.S.C. § 1692e(11).

17.      By way of limited example only, on or about July 17, 2015, Defendant Mercantile

         Adjustment Bureau, LLC, a debt collector, attempted to contact Plaintiff by telephone in

         an effort to collect a debt; this was a “communication” in an attempt to collect a debt as

         that term is defined by 15 U.S.C. § 1692a(2). Defendant, a representative of Mercantile

         Adjustment Bureau, LLC by the name of Shareen Morrell left a message for the Plaintiff

         requesting a call back to Mercantile Adjustment Bureau, LLC stating:

         Name is Shareen Morrell, callback number is 1 888 481-4348, Ext. 3080, available to

         5:00PM Eastern Standard Time, calling regarding a personal business matter.

18.      At the time Plaintiff received the said messages, he did not know the identity of the

         caller.

19.      At the time Plaintiff received the said messages, he did not know that the caller was a

         debt collector.

20.      At the time Plaintiff received the said messages, he did not know that the call concerned

         the collection of a debt.

21.      Each of the messages is a "communication" as defined by 15 U.S.C. § 1692a(2).

22.      Defendant Mercantile Adjustment Bureau, LLC as a matter of pattern and practice,

         leaves anonymous telephone messages for consumers which in effect trick consumers

         into calling back and being forced to communicate with the debt collector.

23.      Defendant Mercantile Adjustment Bureau, LLC’s anonymous telephone messages

         mislead consumers into thinking that the message could reasonably pertain to a host of

         issues - including family or medical matters - which may be viewed by consumers as




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           much more pressing, than a debt owed. The apparent purpose of these messages is to be

           vague enough to provoke the recipient to return the calls in haste. Leaving a message

           that deceptively entices a consumer to communicate with a debt collector when he is

           caught off guard is precisely the kind of abuse the FDCPA intended to prevent.

24.        A message leaving any information concerning a debt is a "communication." 15 U.S.C.

           § 1692a(2). "Any information" is construed broadly in favor of consumers and includes

           a callback number or a reference number.1

25.        Defendant Mercantile Adjustment Bureau, LLC, failed to provide Plaintiff with the

           notices required by 15 U.S.C. § 1692e(11), namely, by failing to advise Plaintiff that the

           communication was from a debt collector or that the Defendant was attempting to

           collect a debt.2

26.        The only way for Plaintiff and/or any least sophisticated consumer to obtain the identity

           of the caller leaving the messages, and to ascertain the purpose underlying the messages,

           was to place a return call to the telephone number provided in the messages and speak

           with a debt collector employed by Mercantile Adjustment Bureau, LLC, and to provide

           the debt collector with personal information.

27.        Defendant has engaged in a pattern of leaving messages without disclosing that the

           communication is from a debt collector.

1
  Edwards v. Niagara Credit Solutions, Inc., 586 F. Supp. 2d 1346 (N.D. Ga. 2008). aff'd by Edwards v. Niagara Credit Solutions, Inc., 584 F.3d
1350, 2009 U.S. App. LEXIS 22500, 22 Fla. L. Weekly Fed. C 179 (11th Cir. Ga. 2009. (It is a communication whether it is from a
conversation directly between a consumer and a debt collector or indirectly, such as by a message left on a telephone answering device, or with
a third party.), Foti v. NCO Financial Systems, Inc., 424 F.Supp.2d 643 (S.D.N.Y. 2006).(infra), Wideman v. Monterey Fin. Srvs., Inc., 2009
U.S. Dist. LEXIS 38824 (W.D.Pa May 7, 2009) (Same), West v. Nationwide Credit, Inc., 998 F. Supp. 642, 643 (W.D. N.C. 1998) (Same),
Belin v. Litton Loan Servicing, LP, 2006 U.S. Dist. LEXIS 47953, 2006 WL 1992410, 5 (M.D.Fla., 2006) (Same).
2
  See Sclafani v. BC Servs., Inc., No. 10-61360-CIV, 2010 U.S. Dist. LEXIS 115330, 2010 WL 4116471, at *3 (S.D. Fla. Oct. 18, 2010.) ("If
[the defendant] could not leave voice messages that simultaneously complied with the multiple applicable provisions of FDCPA, it should not
have left the offending voice messages."), Edwards v. Niagara Credit Solutions, Inc., 584 F.3d 1350, 2009 U.S. App. LEXIS 22500, 22 Fla. L.
Weekly Fed. C 179 (11th Cir. Ga. 2009.) (The United States Court of Appeals for the Eleventh Circuit stated “In an oft-repeated statement from
the Vietnam War, an unidentified American military officer reputedly said that "we had to destroy the village to save it." That oxymoronic
explanation may be apocryphal, but the debt collection agency in this case offers up much the same logic to explain why it violated the Fair
Debt Collection Practices Act: it was necessary to violate the Act in order to comply with the Act…"[I]f [the debt collector's] assumption is
correct, the answer is that the [FDCPA] does not guarantee a debt collector the right to leave messages.")




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28.        All of the above-described collection communications made to Plaintiff by Defendant

           Mercantile Adjustment Bureau, LLC and other collection employees employed by the

           Defendant, were made in violation of numerous and multiple provisions of the FDCPA,

           including but not limited to 15 U.S.C. §§ 1692d, 1692e, 1692e(10), 1692e(11), and

           1692f, amongst others.

29.        Leaving “Anonymous Telephone Messages” in any form are in violation of the FDCPA

           whether the anonymous telephone message is left during a conversation directly

           between a consumer and a debt collector or indirectly, such as an Anonymous

           Telephone Message left on a telephone answering device, or with a third party.3

                                        AS AND FOR A FIRST CAUSE OF ACTION
Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf of himself and the
                                         members of a class, as against the Defendant.
30.        Plaintiff re-states, re-alleges, and incorporates herein by reference, paragraphs one (1)

           through twenty nine (29) as if set forth fully in this cause of action.

31.        This cause of action is brought on behalf of Plaintiff and the members of a class.

32.        The class consists of all persons whom Defendant’s records reflect resided in New York

           who received telephonic messages from Defendant within one year prior to the date of

           the within complaint up to the date of the filing of the complaint; (a) the telephone call

           was placed to a the consumer's home or similar party seeking payment of a consumer

           debt by leaving a message for the Plaintiff; and (b) the Plaintiff asserts that the telephone

           message was in violation 15 U.S.C. §§ 1692d, 1692e, 1692e(10), 1692e(11), and 1692f.



3
  See. Leyse v. Corporate Collection Servs., (2006 U.S. Dist. LEXIS 67719 (S.D.N.Y. Sept. 18, 2006) ("The FDCPA requires debt collectors
identify themselves as such in all messages to prevent consumers from being tricked into communicating with debt collectors regarding a debt.
Anonymous telephone messages mislead consumers in to thinking that the message could reasonably pertain to a host of issues - including
family or medical matters - which may be viewed by consumers as much more pressing, than a debt owed. The apparent purpose of these
messages is to be vague enough to provoke the recipient to return the calls in haste. Leaving a message that deceptively entices a consumer to
communicate with a debt collector when he is caught off guard is precisely the kind of abuse the FDCPA intended to prevent.")




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33.      Pursuant to Federal Rule of Civil Procedure 23, a class action is appropriate and

         preferable in this case because:

                A. Based on the fact that form telephonic messages are at the heart of this

                    litigation, the class is so numerous that joinder of all members is

                    impracticable.

                B. There are questions of law and fact common to the class and these questions

                    predominate over any questions affecting only individual class members. The

                    principal question presented by this claim is whether the Defendant violated

                    the FDCPA.

                C. The only individual issue is the identification of the consumers who received

                    such telephonic messages, (i.e. the class members), a matter capable of

                    ministerial determination from the records of the Defendant.

                D. The claims of the Plaintiff are typical of those of the class members. All are

                    based on the same facts and legal theories.

                E. The Plaintiff will fairly and adequately represent the class members’

                    interests. The Plaintiff has retained counsel experienced in bringing class

                    actions and collection-abuse claims. The Plaintiff's interests are consistent

                    with those of the members of the class.

34.      A class action is superior for the fair and efficient adjudication of the class members’

         claims. Congress specifically envisions class actions as a principal means of enforcing

         the FDCPA. 15 U.S.C. § 1692(k). The members of the class are generally

         unsophisticated individuals, whose rights will not be vindicated in the absence of a class

         action. Prosecution of separate actions by individual members of the classes would




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         create the risk of inconsistent or varying adjudications resulting in the establishment of

         inconsistent or varying standards for the parties and would not be in the interest of

         judicial economy.

35.      If the facts are discovered to be appropriate, the Plaintiff will seek to certify a class

         pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure.

36.      Collection attempts, such as those made by the Defendant are to be evaluated by the

         objective standard of the hypothetical “least sophisticated consumer.”

                             Violations of the Fair Debt Collection Practices Act

37.      The Defendant's actions as set forth above in the within complaint violates the Fair Debt

         Collection Practices Act.

38.      Because the Defendant violated the Fair Debt Collection Practices Act, the Plaintiff and

         the members of the class are entitled to damages in accordance with the Fair Debt

         Collection Practices Act.

WHEREFORE, Plaintiff, respectfully requests that this Court enter judgment in Plaintiff's favor and

against the Defendant and award damages as follows:

                (a)    Statutory and actual damages provided under the FDCPA, 15 U.S.C. §

                        1692(k);

                (b)     Attorney fees, litigation expenses and costs incurred in bringing this

                        action; and

                (c)      Any other relief that this Court deems appropriate and just under the

                        circumstances.




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                                    Dated: Cedarhurst, New York
                                  July 15 February
                                           XXXXXXX 19, 2016


                                              /s/ Adam J. Fishbein___________
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Plaintiff requests trial by jury on all issues so triable.


                                             /s/ Adam J. Fishbein___
                                         Adam J. Fishbein (AF-9508)




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